Case 1:17-bk-12408-MB          Doc 548 Filed 04/16/18 Entered 04/16/18 14:08:03               Desc
                                Main Document     Page 1 of 5



   1   Samuel R. Maizel (SBN 189301)
       samuel.maizel@dentons.com
   2   Tania M. Moyron (SBN 235736)
       tania.moyron@dentons.com
   3   DENTONS US LLP
       601 South Figueroa Street, Suite 2500
   4   Los Angeles, California 90017-5704
       Telephone:    (213) 623-9300
   5   Facsimile:    (213) 623-9924

   6   Attorneys for the Trust Board (formerly the Official
       Committee of Equity Security Holders)
   7

   8
                                  UNITED STATES BANKRUPTCY COURT
   9                               CENTRAL DISTRICT OF CALIFORNIA
                                    SAN FERNANDO VALLEY DIVISION
  10
       In re:                                         Case No. 1:17-bk-12408-MB
  11                                                  Jointly administered with:
       ICPW Liquidation Corporation, a                Case No. 1:17-bk-12409-MB
  12   California corporation,'

  13             Debtor and Debtor in Possession.     Chapter 11

  14   In re:                                         DECLARATION OF SCOTT JARUS IN
                                                      SUPPORT OF SECOND INTERIM AND
  15   ICPW Liquidation Corporation, a Nevada         FINAL APPLICATION OF DENTONS
       corporation ,2                                 US LLP FOR APPROVAL OF FEES AND
  16
                                                      REIMBURSEMENT OF EXPENSES
                 Debtor and Debtor in Possession.
  17
                                                      Hearing:
  18                                                  Date: May 1, 2018
           Affects:                                   Time: 2:30 p.m.
  19                                                  Place: Courtroom "303"
       1E] Both Debtors                                        21041 Burbank Blvd.
  20

  21
       n Ironclad Performance Wear                             Woodland Hills, CA
       Corporation, a California corporation
  22   El Ironclad Performance Wear
       Corporation, a Nevada corporation.
  23

  24
                I, Scott Jams, declare as follows:
  25
                1.     From September 20, 2017 to February 28, 2018, I was the Committee Chair of the
  26
       duly appointed Official Committee of Equity Security Holders (the "Equity Committee") in
  27

  28   1 Formerly known as Ironclad Performance Wear Corporation, a California corporation.
       2 Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

                                                       1
       107050359\V-1
Case 1:17-bk-12408-MB         Doc 548 Filed 04/16/18 Entered 04/16/18 14:08:03                  Desc
                               Main Document     Page 2 of 5



   1   ICPW Liquidation Corporation, a Nevada corporation. The Equity Committee was dissolved on
   2   February 28, 2018, pursuant to the Debtors and Official Committee of Equity Security Holders

   3   Joint Plan of Liquidation Dated February 9, 2018 (the "Plan") [Docket No. 438] and the order
       thereon [Docket No. 442]. Currently, I am a member of the Trust Board created and established
   4
       pursuant to the Plan and that certain related trust agreement dated as of February 28, 2018.
   5
                2.     I have personal knowledge of the facts stated in this declaration and, if called to
   6   testify, would and could competently testify thereto.
   7            3.     This declaration is submitted in support of the Second Interim And Final
   8   Application Of Dentons US LLP For Approval Of Fees And Reimbursement Of Expenses (the

   9   "Fee Application"). [Docket No. 519].
                4.     As indicated in the Fee Application, Dentons US LLP, counsel to the Equity
  10
       Committee, seeks (i) first and final allowance of fees of $614,656.00 and expenses of $25,045.35
  11
       for total fees and expenses of $639,701.35 for services rendered and expenses incurred by
  12
       Dentons on behalf of the Equity Committee for the period of November 1, 2017 through February
  13   28, 2018, and (ii) final allowance of interim awards of $222,730.30 in fees and $4,714.24 in
  14   expenses as further described in Dentons' First Interim Application of Dentons US LLP for

  15   Approval of Fees and Reimbursement of Expenses covering the period September 22, 2017
       through October 31, 2017 [Docket No. 246], which was approved on an interim basis by Order
  16
       entered on December 13, 2017. [Docket No. 337].
  17
                5.     I have reviewed the Fee Application, including exhibits, and have no objection to
  18
       the Fee Application and believe that the fees and expenses are reasonable and appropriate and
  19   should be approved by the Court.
  20            I declare and verify under penalty of perjury that the foregoing is true and correct to the
  21   best of my knowledge.

  22            Executed on this 16th day of April 2018, at Manhattan Beach, California.

  23

  24

  25

  26

  27

  28


                                                        2
       107050359\V-1
          Case 1:17-bk-12408-MB                       Doc 548 Filed 04/16/18 Entered 04/16/18 14:08:03                                      Desc
                                                       Main Document     Page 3 of 5



                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF SCOTT JARUS IN SUPPORT
OF SECOND INTERIM AND FINAL APPLICATION OF DENTONS US LLP FOR APPROVAL OF FEES AND
REIMBURSEMENT OF EXPENSES will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via. NEF and hyperlink to the document. On (date)
April 16, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

     •   Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
     •   Ron Bender rb@Inbyb.com
     •   Cathrine M Castaldi ccastaldi@brownrudnick.com
     •   Russell Clementson russell.clementson@usdoj.gov
     •   Aaron S Craig acraig@kslaw.com, Iperry@kslaw.com
     •   Natalie B. Daghbandan natalie.daghbandan@bryancave.com,
           raul.morales@bryancave.com;theresa.macaulay@bryancave.com
     •   Steven M Gluck sgluck@juno.com
     •   Matthew A Gold courts@argopartners.net
     •   Monica Y Kim myk@Inbrb.com, myk@ecf.inforuptcy.com
     •   Jeffrey A Krieger jkrieger@ggfirm.com,
           kwoodson@greenberggluskercom;calendar@greenberggluskercom;jking@greenbergglusker.com
     •   Samuel R Maizel samuel.maizel@dentons.com,
           alicia.aguilar@dentons.com;docket.generallit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
           dentons.com
     •   Krikor J Meshefejian kjm@Inbrb.com
     •   Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
     •   S Margaux Ross margaux.ross@usdoj.gov
     •   Thomas C Scannell tscannell@gardere.com, acordero@gardere.com
     •   Susan K Seflin sseflin@brutzkusgubner.com
     •   Andrew T Solomon asolomon@solomoncramer.com
     •   John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
     •   United States Trustee (SV) ustpregionl6.wh.ecf@usdoj.gov
     •   Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
     •   Douglas Wolfe dwolfe@asmcapital.com

                                                                                           ❑ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 16, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                          El    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 16, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
105437348\V-1
           Case 1:17-bk-12408-MB                      Doc 548 Filed 04/16/18 Entered 04/16/18 14:08:03                                      Desc
                                                       Main Document     Page 4 of 5


such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                           IZ Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 16, 2018               Christina O'Meara                                                     /s/Christina O'Meara
 Date                               Printed Name                                                    Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
105437348\V-1
           Case 1:17-bk-12408-MB                      Doc 548 Filed 04/16/18 Entered 04/16/18 14:08:03                                       Desc
                                                       Main Document     Page 5 of 5


SERVED BY U.S. MAIL:

Secured Creditor                                        Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                           Holdings                                            Commission
Attn: Mike Tutor, CEO                                   E. Franklin Childress, Jr.                          Attn: Bankruptcy Counsel
5305 Distriplex Farms                                   Baker, Donelson, Bearman, Caldwell                  444 South Flower Street, Suite 900
Memphis, TN 38141                                       & Berkowitz, PC                                     Los Angeles, CA 90071-9591
                                                        165 Madison Ave, Suite 2000
                                                        Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                                Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                           Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                             P.O. Box 2952                                       P.O. Box 942879
                                                        Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                            Office of Unemployment
Bankruptcy Group MIC 92E                                Compensation Tax Services
P.O. Box 826880                                         Department of Labor and Industry
Sacramento, CA 94280-0001                               Commonwealth of Pennsylvania
                                                        651 Boas Street, Room 702
                                                        Harrisburg, PA 17121

Trust Board - SERVED BY EMAIL
Patrick W. O'Brien                                      Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                       1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                              Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                                Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net

Trustee - SERVED BY EMAIL
Matthew Pliskin
2718 West Terrace Drive
Tampa, Florida 33609
Email:
matthew@icpwliguidation.com




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                               F 9013-3.1.PROOF.SERVICE
105437348\V-I
